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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                      Case No.: 7:16-cv-07735-NSR
ELIZABETH PETROSINO, individually
on behalf of herself and others similarly
situated,                                             NOTICE OF MOTION TO
                       Plaintiff,                     DISMISS SECOND AMENDED
                                                      COMPLAINT FOR LACK OF
                     v.                               PERSONAL JURISDICTION BY
STEARN’S PRODUCTS, INC. D/B/A                         STEARN’S PRODUCTS, INC.
DERMA E®,
               Defendant.



       TO THE COURT, ALL INTERESTED PARTIES AND THEIR ATTORNEYS OF

RECORD:

       PLEASE TAKE NOTICE THAT Defendant Stearn’s Products, Inc. (“SPI”), will, and

hereby does, move the Court before the Honorable Nelson S. Román, United States District

Judge for the United States District Court for the Southern District of New York, at the United

States Court House, Courtroom 218, 300 Quarropas Street, White Plains, New York 10601, at a

date and time to be determined by the Court, for an Order dismissing Plaintiff Elizabeth

Petrosino’s Second Amended Class Action Complaint (the “SAC”) as to those claims brought on

behalf of putative class members located outside the forum state of New York on the grounds

that the Court lacks personal jurisdiction over SPI as to claims alleged in the SAC on behalf of

putative class members residing outside the State of New York.

       PLEASE TAKE FURTHER NOTICE that in support of its motion, SPI relies upon

this Notice of Motion, the accompanying Memorandum of Points and Authorities, the

Declaration of Barbara Roll, and accompanying exhibits, any reply memorandum, the pleadings

and files in this action, and such other matters as may be presented at or before the hearing.

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       PLEASE TAKE FURTHER NOTICE that counsel for SPI hereby requests oral

argument.


Date: June 22, 2018                      Respectfully submitted,


                                         s/ Gavin J. Rooney


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                                         d/b/a Derma e®




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